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 1 Ronald D. Mercaldo (State Bar No. 002753)
   Marco B. Mercaldo (State Bar No. 20241)
 2
   Carlo N. Mercaldo (State Bar No. 23361)
 3 MERCALDO LAW FIRM
   1853 North Kolb Road
 4 Tucson, AZ 85715
 5 Tel (520) 624-1400
   Fax (520) 624-1955
 6 ron@mercaldo.com
 7 marco@mercaldo.com
   carlo@mercaldo.com
 8 Attorneys for Plaintiffs
 9                             UNITED STATES DISTRICT COURT
10                                     DISTRICT OF ARIZONA
11 Todd Miller and Amanda Miller, husband and )           Case No. CV-21-00004-TUC-JGZ
12 wife,                                          )
                                                  )
13                    Plaintiffs,                 )
14 v.                                             )            JOINT SETTLEMENT
                                                  )              STATUS REPORT
15 United States of America,                      )
                                                  )
16
                     Defendant.                   )
17         Pursuant to this Court’s Order (Doc. 18), the parties hereby jointly submit this report
18 regarding the status of the parties’ settlement negotiations.
19           Since the filing of the last Joint Settlement Status Report (Doc. 49) The parties have
20 continued to participate in discovery. Plaintiff, Todd Miller, underwent an Independent
21 Medical Examination on January 18, 2022, and Defendants are set to disclose their expert
22 opinions by the end of this week.
23           The parties have scheduled private mediation before the Hon. Christopher Skelly
24 (ret.) on Thursday, May 12, 2022. The parties do not require the Court’s assistance in setting
25 a settlement conference at this time.
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28    ///
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 1       Respectfully submitted this 9th day of March 2022.

 2
 3   MERCALDO LAW FIRM                           GARY RESTAINO
                                                 United States Attorney
 4                                               District of Arizona
 5
 6   /s/ Carlo N. Mercaldo                       /s/ Michael L. Linton, with permission
 7   Carlo N. Mercaldo                           Michael L. Linton
     Attorney for Plaintiff                      Assistant U.S. Attorney
 8                                               Attorneys for Defendant United States
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